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          IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION




 UNITED STATES OF AMERICA,
       Plaintiff,                                  MEMORANDUM DECISION AND
                                                   ORDER GRANTING THE
                                                   GOVERNMENT’S MOTIONS IN
                                                   LIMINE REGARDING THE
                                                   CRIMINAL HISTORIES OF
                                                   GOVERNMENT WITNESSES AND
                                                   DEFENDANTS


               vs.


 SALVADOR RAMERIZ and MIGUEL                       Case No. 2:09-CR-784 TS
 ANGEL CHAVEZ,
       Defendant.




      In two motions, the government moves for rulings on the extent to which the criminal

histories of the government witnesses and Defendants are admissible under Fed. R. Evid.

609. There have been no responses from Defendants.

      Rule 609(a)(1) of the Federal Rules of Evidence provides:

      (a) General Rule.—For the purpose of attacking the character for truthfulness
      of a witness,

             (1) evidence that a witness other than an accused has been
             convicted of a crime shall be admitted, subject to Rule 403, if
             the crime was punishable by death or imprisonment in excess

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               of one year under the law under which the witness was
               convicted, and evidence that an accused has been convicted
               of such a crime shall be admitted if the court determines that
               the probative value of admitting this evidence outweighs its
               prejudicial effect to the accused; and

               (2) evidence that any witness has been convicted of a crime
               shall be admitted regardless of the punishment, if it readily can
               be determined that establishing the elements of the crime
               required proof or admission of an act of dishonesty or false
               statement by the witness.

        (b) Time limit. Evidence of a conviction under this rule is not admissible if a
        period of more than ten years has elapsed since the date of the conviction
        or of the release of the witness from the confinement imposed for that
        conviction . . . unless the court determines, in the interests of justice, that the
        probative value of the conviction . . . .

        Fed. R. Evid. 403 provides:

        Although relevant, evidence may be excluded if its probative value is
        substantially outweighed by the danger of unfair prejudice, confusion of the
        issues, or misleading the jury, or by considerations of undue delay, waste of
        time, or needless presentation of cumulative evidence.

        The Court finds that the following criminal histories of the following individuals are

admissible:

•       Defendant Miguel Angel Chavez’s 2001 felony conviction for forgery in California

        under Fed. R. Evid. 609(a)(2);

•       Defendant Henry Macias Medina’s 2009 misdemeanor conviction for providing false

        information to law enforcement under Fed. R. Evid. 609(a)(2);

•       Defendant Adrian Montalvo-Castelan’s 2004 felony drug conviction for

        impeachment purposes under Fed. R. Evid. 609(a)(1);

•       Danny Karren’s convictions as follows for impeachment purposes under Fed. R.


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       Evid. 609(a)(1): (A) 2001 felony conviction for wanton destruction of protected

       wildlife; (B) 2004 felony conviction for possession of a firearm by a restricted

       person; (C) 2004 felony conviction for a DUI; (D) 2004 felony/misdemeanor

       convictions for four counts of fraud—illegal use of credit cards; (E) 2005 felony

       conviction for items prohibited in a correctional health facility; and (F) 2008 felony

       conviction in Utah for fraud—illegal use of credit cards.

       The Court further finds that the use of the convictions for impeachment shall be

generally limited to information about the nature of the crimes of conviction and the

punishment. Counsel shall not inquire into any specific facts and circumstances underlying

the convictions without first seeking a ruling on the issue outside of the hearing of the jury.1

It is therefore

       ORDERED that the government’s Motion in Limine Regarding the Criminal Histories

of Government Witnesses (Docket No. 248) and the government’s Motion in Limine

Regarding the Criminal Histories of Defendants (Docket No. 249) are GRANTED as set

forth above.

       DATED November 12, 2010.
                                            BY THE COURT:


                                            _____________________________________
                                            TED STEWART
                                            United States District Judge


       1
        See United States v. Lopez-Medina, 596 F.3d 716, 738 (10th Cir. 2010) (finding
“no abuse of discretion in the court's decision to prohibit Lopez-Medina from eliciting the
specific facts and circumstances underlying [the witness’] prior conviction”).


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